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     Federal Defender
 2   MARC C. AMENT, Bar #59080
     Assistant Federal Defender
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 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   MICHAEL TIMOTHY KILPATRICK
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                NO. 1:05-CR-0341 AWI
                                         )
12                  Plaintiff,           )                STIPULATION TO CONTINUE STATUS
                                         )                CONFERENCE HEARING, AND ORDER
13        v.                             )                THEREON
                                         )
14   MICHAEL TIMOTHY KILPATRICK, et al., )                Date: February 26, 2007
                                         )                Time: 9:00 a.m.
15                  Defendant.           )                Judge: Honorable Anthony W. Ishii
                                         )
16                                       )
17
18                                                 STIPULATION
19          It is hereby stipulated by and between the parties hereto that the status conference hearing in the
20   above- entitled matter now set for January 22, 2007, may be continued to February 26, 2007, at 9:00 a.m.
21          The reason for this continuance is to allow counsel additional time for defense preparation and case
22   settlement negotiations.
23          The parties agree that time shall be excluded pursuant to 18 U.S.C. §§ 3161, subd.(h)(8)(A) and
24   (B) in that the ends of justice served by the continuance outweigh the best interest of the public and the
25   ///
26   ///
27   ///
28   ///
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 1   defendant in a speedy trial, since the failure to grant such a continuance would deny counsel for the
 2   defendant the reasonable time necessary for effective preparation, taking into account the exercise of due
 3   diligence.
 4                                                                  McGREGOR W. SCOTT
                                                                    United States Attorney
 5
 6   DATED: January 18, 2007                                By:     /s/ Kathleen A. Servatius
                                                                    KATHLEEN A. SERVATIUS
 7                                                                  Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
 8
 9   DATED: January 18, 2007                                By:     /s/ Eric Fogderude
                                                                    ERIC FOGDERUDE
10                                                                  Attorney at Law
                                                                    Attorney for Thomas Ray Wright
11
12                                                                  DANIEL J. BRODERICK
                                                                    Federal Defender
13
14   DATED: January 18, 2007                                By:     /s/ Marc C. Ament
                                                                    MARC C. AMENT
15                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
16                                                                  MICHAEL TIMOTHY KILPATRICK
17
18
                                                        ORDER
19
             IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. § 3161, subd. (h)(8)(A) and (B).
20
     For the reasons stated above, the court finds that the ends of justice served by the delay outweigh the best
21
     interest of the public and the defendants in a speedy trial.
22
23
     IT IS SO ORDERED.
24
     Dated:       January 19, 2007                       /s/ Anthony W. Ishii
25   0m8i78                                        UNITED STATES DISTRICT JUDGE
26
27
28


     Stipulation and Proposed Order - Kilpatrick            2
